Case 2:05-cV-02104-.]PI\/|-de Document 6 Filed 05/31/05 Page 1 of 2 Page|D 7

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UNITED sTATEs DISTRICT cqg§Egl
wEsTERN DISTRICT oF TENNESSEE

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WILLIAM M. LINEBERRY, JUDGMENT IN A CIVIL CASE
Petitioner,
V.
WARDEN, FMC»BUTNER, CASE NO: 05-2104 Ml/V
Respondent.
JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the

Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDEREDl ADJUDGED, AND DECREED that, in
accordance with the Order of Dismissal entered May ky , 2005,
this case is DISMISSED.

APPROVED:

SQMMMW

P. MCCALLA
UN TED STATES DISTRICT JUDGE

 

WM®MELWUT MEMRDWML;

DATE (;) Clerk of Court

QMW

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02104 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

William Mark Lineberry
FMC BUTNER
16394-076

P.O. BOX 1600

Butner, NC 27509

Honcrable Jon McCalla
US DISTRICT COURT

